Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 1 of 19 PageID 2917


                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION




UNITED STATES OF AMERICA,)
                                      )
              Plaintiff,              )
                                      )
vs.                                   )      CASE   NO.:6:17-cr-187-Orl-37TBS
                                      )
JAMES MOORE,                          )
                                      )
              Defendant.              )
                                     )


                            SENTENCING MEMORANDUM
                            OF DEFENDANT JAMES MOORE

          James Moore. by and through his attorney, respectfully submits his sentencing

memorandum for this Honorable Court’s consideration in determining the appropriate

sentence for him in this case:

A. Introduction:

       Mr. Moore will appear before this Court for sentencing on April 16, 2018. The

Court has the authority and responsibility to determine the appropriate period of time Mr.

Moore will be confined. The undersigned respectfully suggests that the issue should be

justice. What did Mr. Moore actually do and what is just punishment? Mr. Moore has

already been incarcerated for approximately 60 days. In addition, he was on bond subject

to a curfew for 10 months. He has not seen his country, where his children reside, for over


                                            —1—
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 2 of 19 PageID 2918

a year. This sentencing memorandum is written with the hope that it will be of some

assistance to this Honorable Court in exercising its discretion with regard to a just

sentence as to Mr. Moore.

B. Superseding Information:

       Pursuant to a plea agreement with the United States, Mr. Moore was charged on

February 2. 2018 by superseding information with one count of misprision of a felony in

violation of 18 U.S.C. Section 4.    A copy of the Superseding Information is attached

hereto as Exhibit “A”.

       This count arises from the fact that in the fall of 2009. Paul Oxley, a real estate

developer, admitted to Mr. Moore that he had improperly paid real estate sales

commissions with deposits of customers that should have been used for actual

construction only. Mr. Moore refused to assist Mr. Oxley in any way. However, Mr.

Moore did not report the crime to law enforcement until after his arrest in February, 2017,

as more fully explained below.

C. 18 U.S.C. Section 3553(a) “Booker” factors:
                                 -




       Title 18 U.S.C. Section 3553(a) provides the factors to be considered in imposing a

sentence in a Federal criminal case. Section 3553(a) provides:

       “The court shall impose a sentence sufficient, but not greater than necessary, to

comply with the purposes set forth in paragraph (2) of this subsection. The court, in

determining the particular sentence to be imposed, shall consider

       (1) the nature and circumstances of the history and characteristics of the offenses

       and the defendant;

                                            -2-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 3 of 19 PageID 2919

       (2) the need for the sentence imposed-

                (A)      to reflect the seriousness of the offense, promote respect for the law,

                         and provide just punishment for the offense;

                (B)      to afford adequate deterrence to criminal conduct;

                (C)      to protect the public from further crimes of the defendant; and

                (D)     to provide the defendant with needed educational, vocational training,

                         medical care, or other correctional treatment in the most effective

                         manner;

       (3) the kinds of sentences available;

       (4)   * * *   the sentencing range established [by the guidelines];   * * *



       (5) any pertinent policy statement     -   * *



       (6) the need to avoid unwarranted sentence disparities among defendants with

       similar records who have been found guilty of similar conduct; and

       (7) the need to provide restitution to any victims of the offense”.

Each of the factors set forth in Section 3553(a) are discussed below.

(1) The Nature and Circumstances of the:

       (A) History and Characteristics of the Offense.

       In or about 2000, James Moore got the idea to start a seminar business that taught

people in London, England how to invest in real estate.           The idea of purchasing real

property not to live in, but to rent to third parties, was a relatively novel concept in

England at that time.        Through hard work James Moore turned the fledgling seminar



                                                   -3-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 4 of 19 PageID 2920

company, called Inside Track Seminars, into a thriving business presenting seminars

throughout England to over 100 people a week.

       In or about 2001, James Moore realized that students at his seminars wished to

purchase real property.     Mr. Moore formed a second company called Instant Access

Properties. The Instant Access Properties business model was to enter agreements to be

the outside sales agent of various independent developers who were willing to offer

homes, town homes, and/or condominiums for sale in their respective developments at

discounted prices to Instant Access Properties student members.          Instant Access

Properties charged a membership fee to the students of Inside track Seminars that wanted

to invest in real estate projects located in England.

       By 2003, Inside Track Seminars and Instant Access Properties had grown to the

point that the entities employed approximately 400 people. James Moore wanted to sell

the business. To do so James Moore was told by several different sources that he needed

to hire and implement a professional management team to operate the companies in the

future without his input.

       To address these concerns/recommendations, Mr. Moore hired Neil Storey, an

English diplomat, to locate and interview developers in the United States, Spain, and

other European countries. Mr. Moore hired Bradley Rosser to act as the consultant/CEO

of the companies as a group. Mr. Rosser hired a well regarded tax accountant by the

name of Phil Donnison to minimize income taxes earned in countries other than England.

Mr. Rosser also hired attorney Jonathan Berman, Esq. from the renown English law firm,



                                              -4-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 5 of 19 PageID 2921

Mishcon Dc Rea. This is the law firm that represented Princess Diana prior to her tragic

death.

         During this period of time, Neil Storey met Paul Oxley, a developer in Orlando,

Florida. Paul Oxley and his partner Martyn Harrison owned Maesbury Homes.             Paul

Oxley had successfully constructed several large residential projects located near Disney

World. Maesbury Homes was in the process of selling the completed units.                An

agreement was reached whereby Instant Access Properties agreed to be a sub-agent to

assist in locating potential buyers for the existing Maesbury Homes’ projects. For

international tax reasons, Phil Donnison formed an entity called Leadenhall to be the sales

agent of Maesbury Homes. Maesbury agreed to pay a 10% commission upon receipt of its

form purchase/sale agreement signed by the individual buyer as well as the required

deposit. In most cases the deposit was 25% of the purchase price. Maesbury agreed to

pay an additional 10% commission at the actual closing for each unit.

         In or about 2003, James Moore and his wife Kim Moore had marital difficulties

that resulted in their divorce. James began spending most of his time with his children in

Spain. He permitted his management team to run the companies. During this period of

time, Paul Oxley was moving forward with the construction of his largest construction

project to date. The development was known as the Grand Palisades at Lake Austin. It

consisted of 1,750 units with an average sales price of $350,000. The total projected sales

were in excess of $500 million. Grand Palisades at Lake Austin was ideally located a

short distance from Disney’s Magic Kingdom in Disney World.



                                            -5-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 6 of 19 PageID 2922

        Paul Oxley was convinced that his construction skills were second to none.

However, he wanted Instant Access Properties to handle all of the sales on a

preconstruction basis. Paul Oxley was willing to pay a commission of 10% at the time the

buyer signed a Paul Oxley approved purchase contract and paid over a deposit of at least

25% of the purchase price. However, Paul Oxley did not want to pay an additional 10%

commission at closing.

       Negotiations between Oxley and Mr. Moore’s management team followed and the

parties ultimately agreed that a new entity called Lake Austin Properties, Ltd. would be

formed to own the Grand Palisades project. Paul Oxley would directly and/or indirectly

own and control 49.5% as a limited partner. James Moore would directly and/or indirectly

own and/or control 34% as a limited partner. Brad Rosser and others would directly

and/or indirectly own or control 15.5% as a limited partner. Paul Oxley and Brad Rosser

owned indirectly 1 % as the general partners.      Due primarily to the divorce of James

Moore, at Rosser’s request Phil Donnison formed a new entity called Darrencrest to

replace Leadenhall as the sales agent to Lake Austin Properties, Ltd. Rosser’s percentage

of ownership increased from 20% of Leadenhall to 27% of Darrencrest. Instant Access

Properties remained the sub-agent of Darrencrest and was responsible as a independent

sales agent to refer potential buyers to Paul Oxley.

       The Grand Palisades project went forward. Attached hereto as Exhibit “B” are

photos of the Grand Palisades under construction and upon completion. Paul Oxley and

Maesbury Homes handled all aspects of the construction. This included any construction

financing. Paul Oxley was the sole signatory on the Lake Austin Properties, Ltd. bank

                                             -6-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 7 of 19 PageID 2923

accounts.    Darrencrest as the sales agent was paid a 10% commission on all sales

contracts signed with the payment of a 25% deposit. Darrencrest paid Instant Access

Properties as the sub-agent for all of its expenses associated with operating a 400 person

sales company with an advertising budget in excess on a million dollars a month.

          During 2005, 2006 and early 2007, Instant Access Properties referred individual

customers who together executed agreements to purchase all 1750 units at the Grand

Palisades at Lake Austin.    Paul Oxley dealt directly with each of the 1750 individual

purchasers. Paul Oxley sent the purchase contract by FedEx directly to the individual

buyers. The buyers signed the agreement and returned it to Paul Oxley by FedEx. The

agreements represented that no part of the deposit would be spent on sales commissions

or advertising. This statement was consistent with Florida law governing condominium

sales.

         No one at Instant Access Properties in England knew of the Florida Law and they

were not aware of the statements contained in Paul Oxley’s contract. At that time, Instant

Access Properties represented over 75 developers in England and Europe. The company

generated the sales of 4,000 units annually. The annual sales of the Grand Palisades at

Lake Austin represented approximately 10% of the annual sales of Instant Access

Properties. Attached hereto as Exhibit “C” is a sample Inside Track Seminar schedule.

         In or about June 2007, Paul Oxley obtained a construction loan of $140 million

from Marshall Bank First.      Marshall Bank First underwrote the loan with 65 other

participating banks. To obtain draws on the loan, on or about September 30, 2007, Paul

Oxley submitted a financial statement stating that Lake Austin Properties, Ltd. had assets

                                            -7-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 8 of 19 PageID 2924

of approximately $220 million and liabilities of approximately $220 million. The assets

included $22.7 million of cash, $46.9 million of deposits in escrow, $57.4 million of

deferred selling costs, and $56.6 million in capitalized development costs. The liabilities

included customer deposits of$171.9 million and construction loans of $47.6 million.

         At that time, the Grand Palisades at Lake Austin was under construction and had

no closings. The sole source of its funds were the customer’s deposits or construction

loans.    The auditors for Lake Austin Properties determined that $57.4 million of the

customer deposits had been used to pay the deferred selling costs, i.e. sales commissions.

The auditors advised Paul Oxley that this was in violation of Florida law. Paul Oxley

kept the auditors’ report confidential and fired the auditors. Mr. Moore was not notified of

the auditor report or the issues contained therein.

         During 2008, the real estate market throughout the United states and Europe

crashed. Within months, values of condominiums fell 25% to 50%.            This resulted in

banks refusing to close the individual transactions at the Grand Palisades at Lake Austin.

This in turn resulted in Lake Austin Properties, Ltd. being unable to make the payments

on the construction loan Paul Oxley obtained to construct the project.

         In the spring of 2009, Mr. Moore was asked to participate in a promotional video

to encourage individual investors not to abandon their investments in the Grand Palisades

but to weather the storm and go through with the purchase of their respective units. Mr.

Moore believed that eventually the real estate market would recover and the individual

buyers would ultimately get the benefit of their bargain if they held on. The video was




                                              -8-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 9 of 19 PageID 2925

made. However, the video promotion had no effect because the banks refused to finance

the closing of any unit. There were no closings at the Grand Palisades during 2009.

      In the fall of 2009, Mr. Moore visited Paul Oxley. Mr. Moore tried to visit Paul

Oxley at least once or twice a year to see if any progress had been made. Paul Oxley

approached Mr. Moore and told Mr. Moore that he had to sign a document for Mr. Oxley.

The paper prepared by Mr. Oxley stated that upon demand Darrencrest was responsible to

repay all of the commissions it had received from Lake Austin Properties, Ltd.        Mr.

Moore was surprised and declined to sign the document. Paul Oxley became aggressive

and stated that if Mr. Moore did not sign the document he, Paul Oxley, would likely be

going to jail. Mr. Moore told Mr. Oxley that he had no idea what Mr. Oxley was talking

about but, Mr. Moore would not help him cover up any wrong doing. Mr. Oxley began

shouting and told Mr. Moore that all of the sales commissions paid to Darrencrest and/or

Instant Access Properties came from customer deposits. Mr. Oxley then told Mr. Moore

for the first time that this was in violation of Florida condominium law. Mr. Moore was

shocked but refused to sign any paper for Mr. Oxley. Mr. Oxley demanded Mr. Moore to

vacate the Maesbury Homes offices. Mr. Moore was physically escorted to the door.

          Mr. Moore did not report Mr. Oxley’s crime to law enforcement. The FDIC

commenced an investigation into Paul Oxley’s application for the construction loan for

the Grand Palisades at Lake Austin.     It was determined that the financial statements

submitted by Paul Oxley to obtain the loan failed to disclose the contingent liability

caused by Paul Oxley using a portion of customer deposits to pay sales commissions, On

or about February 15, 2017, Mr. Moore traveled to Florida to visit his new wife for

                                            -9-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 10 of 19 PageID 2926

 Valentine’s Day. Mr. Moore was arrested at the airport and presented with an indictment

 that charged him with bank fraud.

       Mr. Moore waived his right to a lawyer and agreed to cooperate by giving a video

 interview to the special agents. During the 2 hour interview Mr. Moore answered all

 questions concerning Paul Oxley, Maesbury Homes, Lake Austin Properties, Instant

 Access Properties and Inside Track Seminars. During this interview, the special agents

 learned that Mr. Moore did not apply for any bank loan. He did not provide information

 to Paul Oxley to apply for any bank loan. Mr. Moore did not meet with any of the

 bankers. He was not a signatory on any bank account. Mr. Moore was not involved with

 any of the deposits held in escrow and never met the escrow agent. Mr. Moore had never

 met the auditors of Maesbury Homes or Lake Austin Properties, Ltd. Mr. Moore visited

 Paul Oxley’s office on average 1 or 2 times a year.

       The United States produced the discovery which consisted of over 100,000 pages

 of documents. There were virtually no communications between Mr. Moore and Paul

 Oxley in the discovery. There were virtually no communications between Mr. Moore and

 any of the bankers. There also were no communications between the auditors and Mr.

 Moore.   Despite these facts, Mr. Moore was incarcerated for approximately 60 days

 before he was released on bond with a ankle monitor requiring him to be home by the

 curfew set by probation.

        Mr. Moore’s bank fraud trial was scheduled to commence on February 5, 2018.

 Mr. Moore was told that the federal sentencing guidelines calculated by the government

 were “life”. Mr. Moore could not believe as a foreigner that there was a possibility that

                                             -10-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 11 of 19 PageID 2927

 he might get a life sentence for a crime he truly did not commit. The stress on Mr. Moore

 and his wife was enormous.      Finally, a few weeks before the trial was scheduled to

 commence the United States offered Mr. Moore an opportunity to resolve his legal issues

 arising from the Grand Palisades by entering a plea agreement. Under the terms of the

 plea agreement, if Mr. Moore agreed to plea guilty to the crime of misprision of a felony,

 the United States would drop the bank fraud and conspiracy to commit bank fraud

 charges contained in the superseding indictment. Prior to these proceedings, Mr. Moore

 did not know that misprision of a felony was a crime. The crime of misprision of a felony

 had been repealed in England in or about 1966. Mr. Moore entered the plea agreement

 and formally entered his plea of guilty to the charge of misprision of a felony before the

 Court on February 5, 2018.

 (B) History and Characteristics of the Defendant:

        The nature and circumstances of the history and characteristics of the defendant as

 required by Section 3553(a) are set forth below. James Moore is 57 years old. He is

 divorced from Kim Moore. They had three children. Despite a contentious divorce, all

 parties agree that Mr. Moore has always been an exceptional father. He is remarried to

 Karma Moore. Mr. Moore has never been convicted of any crime. He has a reputation

 amongst the people who know him of being honest, hardworking, generous and

 compassionate. He greatly values his children and friends.

       A large number of family and friends have written letters to this Honorable Court

 to provide the Court with an understanding of the individual who the Court will sentence.

 Each of these persons is aware of the charge to which Mr. Moore has pleaded guilty to.

                                            —11—
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 12 of 19 PageID 2928

 They have been informed of all of the facts. Nonetheless, each has taken the time to write

 to the Court in the hope that they might be able to provide valuable insight as to the man

 James Moore is. Attached hereto as Composite Exhibit “D” are the letters of:

        1. Gordon Tulley                  2.   Michael Barton
        3. Stuart Smith                   4.   David Giles
        5. Malcom Wright                  6.   Sandy Brooker
       7. Clive Phillips                  8.   Cohn Alty
       9. Richard Williams                10. Melvin Griffin
        11. Patrick Cunningham            12. Dennis Carr
        13. Andrew Callen                 14. Simone B. Phillips
        15. Nicholas Dalli                 16. William Ashcroft
        17. Cherrie Keene                  18. Richard Pierce
        19. Paul Holland                  20. Travor Warth
       21. Peter Cookson                  22. Frazer Davy
       23. Roger Sabey                    24. David Hooker
       25. Hannah Carter                  26. Marc Gaibraith
       27. David Honeyman                 28. Sharon Smith
       29. Sarnantha Leverette            30. Mike Ellis
       31. Neil Woodward                  32. Jeff Danik
 Mr. Moore hopes that the Court will factor into its decision the thoughts and comments of

 the people in the community that know him best.

 (2) The Need for the Sentence Imposed to Reflect the Seriousness of the Offense,
 Promote Respect for the Law, Provide Just Punishment for the Offense, Afford
 Adequate Deterrence to Criminal Conduct and Protect the Public from Further
 Crimes of the Defendant.

       The sentence imposed should be sufficient to reflect the seriousness of the offense,

 promote respect for the law, provide just punishment for the offense, afford adequate

 deterrence to criminal conduct and protect the public from future crimes of the Defendant.
                                             -12-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 13 of 19 PageID 2929

 It is respectfully suggested that a sentence of credit time served meets each of these

 objectives. Because Mr. Moore is not a United States citizen he was incarcerated for

 approximately 2 months following his arrest. When he was finally released on bond he

 was forced to wear an ankle bracelet and had a daily curfew. Mr. Moore could not legally

 work in the United States because he did not have a work visa. In addition, he was unable

 to visit family and friends because they reside in Spain. Mr. Moore’s life was effectively

 placed on hold the entire time that he was placed on bond. A review of the sentences

 rendered in recent misprision of a felony criminal cases has yielded several cases within

 this range. These cases include the following:

        i.     United States v. Hanahan,(MD. PA. 2014); sentenced to two years

               supervised release, including six months home confinement, for failure to

               report the nature and extent of her paramour’ cocaine trafficking.

        ii     United States v. Cody M Lacefield, (D. NEB. 2016); sentenced to three

              years supervised release including 90 days home confinement for failure to

               advise law enforcement that he gave firearms to marijuana users to hold for

              him.

        iii    United States v. Bliss Worrell, (E.D. Missouri 2016); former prosecutor was

               sentenced to 18 months probation for concealing her knowledge of police

               officer’s placing gun barrel in mouth of suspect while handcuffed and

              threatened to shoot him.

        iv     United States v. Courtnee Brandtley (MD. FL 2015); was sentenced to

               incarceration for one year and one day for concealing her vehicle which she

                                            -13-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 14 of 19 PageID 2930

              had been driving without a tag and had been pulled over by Tampa Police

              Officers Curtis and Kocab. She had witnessed Dontae Morris shoot and kill

              the police officers. Brandtley left the scene and hid her car.

        v.     United States v. Marshall D. Banks and James Garvin, (D.C. 2013),

              defendants pled guilty to the charge of misprision of a felony relating to the

              misappropriation of $392,000 from government programs. Both defendants

              received sentences of 3 years of probation.

       vi.     United States v. Osvaldo Caraballo-Rodriguez, (2003); defendant, a police

              officer, failed to disclose drug crimes he was involved in pled guilty to a

              misprision of a felony and was sentenced to credit time served.

       vii     United States v. Caren Battaglia, (E.D. LA 2016); the defendant a licensed

              nurse at Abide Home Care Services pled guilty to misprision of a felony for

              failure to report a $30 million Medicare Fraud scheme. Defendant was

              sentenced to credit time served and a $2,000 fine.

       The cases set forth above are not intended to be an exhaustive list of all comparable

 cases. They are provided in support of Defendant Moore’s position that a sentence of

 credit time served would comply with the mandate that “the court shall impose a sentence

 sufficient, but not greater than necessary, to comply with the purposes set forth in

 paragraph (2) of this subsection”. 18 USC. Section 3553(a)(1).         The government has

 indicated that it will request the Court to order a sentence of 15 months. Such a sentence

 is in accordance with the plea agreement of the parties however, such a sentence would




                                             -14-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 15 of 19 PageID 2931

 appear to be more severe than necessary to accomplish the goals of Section 3 553(a).




 (3) The Kinds of Sentences Available:

        In this particular case, it is clear that a sentence of incarceration, community

 confinement, home confinement or credit time served are the kinds of sentences that is

 both available and appropriate. Because Mr. Moore is a citizen of the United Kingdom

 and not the United States he will likely be deported. As a result, a sentence of probation

 or supervised release would not be practical.      Further, the Bureau of Prisons avoids

 placing individuals who have an immigration hold in community confinement.

 (4) The Sentencing Range Established by the Guidelines.

        (A) Presentence Investigation Report:

        The probation officer assigned to this case has prepared a comprehensive

 Presentence Investigation Report. However, Mr. Moore does not agree with the report to

 the extent that it does not recommend a downward variance from the recommended

 sentencing guideline range.

 Federal Sentencing Guidelines Sentence Range is not Presumed Reasonable:

        The Supreme Court has recently made clear that the district courts are not

 permitted to presume that within-guideline sentences are reasonable. See Nelson v. United

States, 129 S. Ct. 890, 892, 172 L. Ed. 2d 719 (2009). In Nelson, the district court made

 the following statement during sentencing: “the Guidelines are considered presumptively

 reasonable,” and so “unless there’s a good reason in the [statutory sentencing] factors   .   .




                                             -15-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 16 of 19 PageID 2932

 the Guideline sentence is the reasonable sentence.” Id. At 891. In evaluating this

 statement, the Supreme Court emphasized that:

        Our cases do not allow a sentencing court to presume that a sentence within

       the applicable Guidelines range is reasonable. In Rita we said as much, in

        fairly explicit terms: We repeat that the presumption before us is an

        appellate court presumption.    .   .   .    [T]he sentencing court does not enjoy the

       benefit of a legal presumption that the Guidelines sentence should apply. Id.

       at 892 (internal citations and quotation marks omitted).

 The Supreme Court found that even though the district court had viewed the Sentencing

 Guidelines as advisory, because the court presumed that a within-guideline sentence was

 reasonable, the resulting sentence was erroneous. United States v. Alexander, 339 Fed.

             (J]th                                                                           (711?
 Appx. 94]           Cir 2009).   See also, United States v. Schmitt, 495 F.3d 860                   Cir.

 2007); wherein the court stated:

       As we stated in United States v. DeMaree, 459 F. 3d 791, 794-95 (7th Cir.

       2006): The judge is not required--or indeed permitted, United States v.

       Brown, 450 F.3d 76, 81-82 (1st Cir. 2006)--to “presume” that a sentence

       within the guidelines range is the correct sentence and if he wants to depart

       give a reason why it’s not correct. All he has to do is consider the guidelines

        and make sure that the sentence he gives is within the statutory range and

       consistent with the sentencing factors listed in 18 U.S.C.          §   3 553(a).




                                                    -16-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 17 of 19 PageID 2933




        The procedure demands that the court sentence based on 18 U.S.C. Section

        3553(a) without any thumb on the scale favoring a guideline sentence.”

        United States v. Sachsenmaier, 49] F.3d 680, 685 (7th Cir. 2007).

        Mr. Moore respectfully urges the Court to find based upon all of the 18 u.s.c.

 Section 3553(a) factors, including the Federal Sentencing Guidelines, that the appropriate

 sentence in this case be credit time served.

 (5) Any Pertinent Policy Statement:

        Counsel for Mr. Moore has not identified any policy statement that is particularly

 pertinent to the facts presented in the instant case.

 (6) The Need to Avoid Sentence Disparities Amongst Defendants:

        In the instant case, there are several persons who were initially charged with bank

 fraud but had their sentence reduced:

        a. Stephanie Lunde, the charges against Ms. Lunde were dropped;

         b. Eric Johnson, was permitted to enter a P.T.I. sentence with the anticipation

        that the charges will be dropped at the end of the 12 month P.T.I. period;

        c. Helen Jones, charges were reduced to misprision of a felony and a

        recommendation for a sentence of probation.

         Based upon the facts and circumstances of this case it would not be equitable for

 these persons to get lighter sentences and Mr. Moore.




                                                -17-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 18 of 19 PageID 2934




 (7) The Need to Provide Restitution to Victims:

        Mr. Moore’s conduct did not cause any damage to any party.

 Conclusion:

        There is a wide range of sentences that may be ordered by this Court.            The

 question is what sentence is sufficient to be just punishment for the offense and will

 promote respect for the law, but at the same time is no harsher than is necessary to

 accomplish these goals and will be viewed as fair. Under all of the circumstances of this

 case and what Mr. Moore has been through to date, it is respectfully suggested that a

 sentence of credit time served is the just sentence for Mr. Moore. Mr. Moore has been

 prohibited from living in his country for over a year and he also has been prohibited from

 working during this period of time. Unlike the others in this case, he has served a de facto

 period of incarceration for the past 14 months. More importantly, because the United

 Kingdom has decided to exit the European community effective March 2019, Mr. Moore

 and his wife Karma will loose their right to residency in Spain if they both are not

 physically present in Spain at that time. However, Mr. Moore must first return to Spain

 by July 2018, to reinstate his residency. This is due to the fact that if he is absent from

 Spain for 2 uninterrupted years, his residency will lapse. Mrs. Moore is unable to obtain

 permission to live in England because Mr. Moore is a resident of Spain. If this issue is

 not properly resolved, the end result may be that Mr. Moore will be forced to return to




                                             -18-
Case 6:17-cr-00187-RBD-TBS Document 308 Filed 04/04/18 Page 19 of 19 PageID 2935




  England and his wife will not be pennitted to live there. This result would cause cruel

  and unusual punishment not intended under the sentencing guidelines.



                                                  Respectfully submitted,

                                                  DAVID M. GARVIN, P.A.
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                                                  By: /s/ David M. Garvin

                                                     DAVID M. GARVIN, ESQ.
                                                     Florida Bar No. 347736



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 4, 2018 I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF, which will send notification of
  such filing to all counsel of record.


                                                  Is! David M. Garvin
                                                  DAVID M. GARVIN, ESQ.




                                           -19-
